[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
On September 30, 1989, the petitioner filed a Fifth Amended Petition for Writ of Habeus Corpus. On November 2, 1989, the respondent filed a Motion to Quash the Fifth Amended Petition for Writ of Habeus Corpus. The court held a hearing on the motion to quash on August 17 and 21, 1990.
On November 9, 1990, the Motion to Quash was granted. The court issues the following articulation of that decision.
The court adopts the recitation of the facts set forth in the Memorandum in Support of the Motion to Quash, filed February 23, 1990.
The court finds that the Fifth Amended Petition for Writ of Habeus Corpus sets forth grounds which were earlier raised and abandoned. Such issues could have been asserted in the several preceding petitions for writ of habeus corpus. The assertion of these issues in the Fifth Amended Petition for Writ of Habeus Corpus constitutes an abuse of this writ. See Negron v.Warden, 180 Conn. 153, 166 n. 6, 429 A.2d 841 (1980), citingSanders v. U.S., 373 U.S. 1, 83 S.Ct. 1068, 10 L.Ed.2d 148
(1963); Iasiello v. Manson, 12 Conn. App. 268, 273, 530 A.2d 1075
(1987).
Accordingly, for the foregoing reason, the respondent's Motion to Quash the Fifth Amended Petition for Writ of Habeus Corpus was hereby ordered granted on November 9, 1990.
It is so ordered.
BY THE COURT: CT Page 7498
DUNN, J.